           Case 4:23-cv-05448-YGR                Document 119   Filed 09/04/24     Page 1 of 12



 1   [Submitting Counsel on Signature Page]
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 7
                                   IN THE UNITED STATES DISTRICT COURT
 8
                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10    People of the State of California, et al.                 MDL No. 3047
          v.
11                                                              Case No.: 4:23-cv-05448-YGR
      Meta Platforms, Inc., Instagram, LLC, Meta                          4:23-cv-05885-YGR
12    Payments, Inc., Meta Platforms Technologies,                        4:24-cv-00805-YGR
      LLC
13
      ----------------------------------------------------
14                                                              STATE ATTORNEYS GENERAL’S
      Office of the Attorney General, State of Florida,         THIRD ADMINISTRATIVE MOTION
15    Department of Legal Affairs                               FOR LEAVE TO FILE SUPPLEMENTAL
          v.                                                    INFORMATION
16
      Meta Platforms, Inc., Instagram, LLC., Meta
17    Payments, Inc.
                                                                Judge: Hon. Yvonne Gonzalez Rogers
18    ----------------------------------------------------
                                                                Magistrate Judge: Hon. Peter H. Kang
19    State of Montana, ex rel. Austin Knudsen, Attorney
      General
20
          v.
21    Meta Platforms, Inc., Instagram, LLC, Facebook
      Holdings, LLC, Facebook Operations, LLC, Meta
22    Payments, Inc., Meta Platforms Technologies, LLC,
      Siculus, Inc.
23
      ----------------------------------------------------
24
      IN RE: SOCIAL MEDIA ADOLESCENT
25    ADDICTION/PERSONAL INJURY PRODUCTS
      LIABILITY LITIGATION
26
      THIS DOCUMENT RELATES TO:
27
      4:23-cv-05448; 4:23-cv-05885; 4:24-cv-00805
28
          STATE ATTORNEYS GENERAL’S THIRD ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
                                   4:23-cv-05448-YGR; 4:23-cv-05885-YGR; 4:24-cv-00805-YGR
           Case 4:23-cv-05448-YGR           Document 119        Filed 09/04/24      Page 2 of 12



 1          Under Civil Local Rule 7-11 and 7-3(d), the State Attorneys General (“State AGs”) submit this
 2   Third Administrative Motion for Leave to File Supplemental Information to bring to the Court’s attention
 3   additional relevant events occurring since the State AGs and Meta Platforms, Inc.; Instagram, LLC; Meta
 4   Payments, Inc.; and Meta Platforms Technologies, LLC (“Meta”) submitted their Joint Statement and
 5   Joint Supplemental Letter Brief Regarding State Agency Discovery, see Dkt. Nos. 685, 736, and since the
 6   Court heard oral argument on March 21, 2024 and May 6, 2024.
 7          On July 24, 2024, the State AGs filed their Administrative Motion for Leave to File Supplemental
 8   Information, Dkt. No. 1031, alerting the Court that Meta had provided notice of its intent to serve
 9   subpoenas to 26 state agencies. On August 19, 2024, the State AGs filed their Second Administrative
10   Motion for Leave to File Supplemental Information, Dkt. No. 1074, alerting the Court that Meta had
11   subsequently provided notice of its intent to serve subpoenas on an additional 57 state agencies in states
12   of State AGs whose enforcement actions are present in this multidistrict litigation. The State AGs’ Second
13   Administrative motion also notified the Court that Meta had elected the same approach to discovery from
14   state agencies in the Massachusetts Attorney General’s enforcement action in Massachusetts state court,
15   Commonwealth of Massachusetts v. Meta Platforms, Inc., Massachusetts Super. Ct. No. 2384CV02397-
16   BLS1, issuing notice of its intent to serve third-party subpoenas on Massachusetts state entities. Since the
17   filing of the State AGs’ Second Administrative Motion, Meta has provided notice of its intent to serve
18   subpoenas on an additional 57 state agencies, bringing the total number of agencies targeted with
19   subpoenas to 140 state entities to date.
20          Attached as Exhibit A is Meta’s August 28, 2024 Notice of Intent to Serve Subpoenas on 39
21   agencies. Attached as Exhibit B is Meta’s August 30, 2024 Notice of Intent to Serve Subpoenas on 18
22   agencies.
23          As with Meta’s prior subpoenas directed to state agencies, Meta’s subpoenas encompassed in this
24   Administrative Motion differ from Meta’s earlier Requests for Production of Documents served on the
25   State AGs which had purported to demand the State AGs produce documents in the possession of
26   numerous state agencies, including these agencies. The subpoenas contain new requests directed to the
27   agencies, while also repeating a subset of the prior Requests for Production of Documents.
28                                                        2
          STATE ATTORNEYS GENERAL’S THIRD ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
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           Case 4:23-cv-05448-YGR            Document 119        Filed 09/04/24      Page 3 of 12



 1           Below is a list of each entity to which Meta has indicated it intends to issue a subpoena as of the
 2   date of this Motion, which encompass multiple entities in each of the 35 states of State AGs whose
 3   enforcement actions are consolidated in this multidistrict litigation. Meta previously identified each of the
 4   140 entities as entities encompassed in the dispute regarding state agency discovery. See Dkt. 736-1. The
 5   entities are listed in order of Meta’s notices:
 6       o California Department of Child Support Services;
 7       o California Department of Education;
 8       o California Mental Health Services Oversight and Accountability Commission;
 9       o Colorado Behavioral Health Administration;
10       o Colorado Department of Education;
11       o Kentucky Department for Behavioral Health, Developmental and Intellectual Disabilities;
12       o Kentucky Department of Education;
13       o New Jersey Department of Education;
14       o New Jersey Department of Health;
15       o New Jersey Governor’s Council on Mental Health Stigma;
16       o Georgia Department of Behavioral Health and Developmental Disabilities;
17       o Georgia Department of Education;
18       o Maine Department of Education;
19       o Maine Department of Health & Human Services;
20       o Maryland Center for School Safety;
21       o Maryland Department of Human Services;
22       o Arizona Department of Child Safety;
23       o Arizona Department of Education;
24       o Arizona Department of Health Services;
25       o Idaho Department of Education;
26       o Idaho Health & Welfare Department;
27       o Commission on Improving the Status of Children in Indiana;
28                                                        3
          STATE ATTORNEYS GENERAL’S THIRD ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
                                   4:23-cv-05448-YGR; 4:23-cv-05885-YGR; 4:24-cv-00805-YGR
       Case 4:23-cv-05448-YGR          Document 119        Filed 09/04/24      Page 4 of 12



 1   o Indiana Department of Education;
 2   o Indiana Department of Health;
 3   o Louisiana Department of Education;
 4   o Louisiana Department of Health;
 5   o Connecticut Department of Education;
 6   o Connecticut Department of Mental Health and Addiction Services;
 7   o Florida Department of Education;
 8   o Florida Department of Health;
 9   o Hawaii Department of Education;
10   o Hawaii State Council on Mental Health;
11   o Illinois Board of Education;
12   o Illinois Department of Human Services;
13   o Illinois Department of Public Health;
14   o Kansas Department for Children and Families;
15   o Kansas Department of Education;
16   o Kansas Department of Health & Environment;
17   o Michigan Department of Education;
18   o Michigan Department of Health & Human Services;
19   o Minnesota Department of Education;
20   o Minnesota Department of Human Services;
21   o Missouri Department of Elementary and Secondary Education;
22   o Missouri Department of Mental Health;
23   o Nebraska Department of Education;
24   o Nebraska Department of Health and Human Services;
25   o New York Department of Education;
26   o New York Office of Mental Health;
27   o North Dakota Department of Health and Human Services;
28                                                   4
      STATE ATTORNEYS GENERAL’S THIRD ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
                               4:23-cv-05448-YGR; 4:23-cv-05885-YGR; 4:24-cv-00805-YGR
       Case 4:23-cv-05448-YGR          Document 119        Filed 09/04/24      Page 5 of 12



 1   o North Dakota Department of Public Instruction;
 2   o Ohio Department of Education & Workforce;
 3   o Ohio Department of Mental Health & Addiction Services;
 4   o Ohio Department of Higher Education;
 5   o Ohio Department of Health;
 6   o Montana Board of Public Education;
 7   o Montana Department of Public Health and Human Services;
 8   o North Carolina Department of Health and Human Services;
 9   o North Carolina Department of Public Instruction;
10   o Oregon Department of Education;
11   o Oregon Department of Human Services;
12   o Rhode Island Department of Behavioral Healthcare, Developmental Disabilities and Hospitals;
13   o Rhode Island Department of Education;
14   o Rhode Island Department of Human Services;
15   o South Carolina Department of Education;
16   o South Carolina Department of Mental Health;
17   o Wisconsin Office of Children’s Mental Health;
18   o Delaware Department of Education;
19   o Delaware Department of Health and Social Services;
20   o Pennsylvania Department of Education;
21   o Pennsylvania Department of Human Services;
22   o South Dakota Department of Education;
23   o South Dakota Department of Social Services;
24   o Virginia Department of Behavioral Health and Developmental Services;
25   o Virginia Department of Education;
26   o Virginia Foundation for Healthy Youth;
27   o Washington Department of Children, Youth, and Families;
28                                                   5
      STATE ATTORNEYS GENERAL’S THIRD ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
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       Case 4:23-cv-05448-YGR          Document 119        Filed 09/04/24      Page 6 of 12



 1   o Washington State Board of Education;
 2   o Washington State Department of Social and Health Services;
 3   o West Virginia Bureau for Children and Families;
 4   o West Virginia Department of Education;
 5   o Kentucky Board of Education;
 6   o Kentucky Cabinet for Health and Family Services;
 7   o Kentucky Department of Public Health;
 8   o Connecticut Department of Public Health;
 9   o Connecticut Commission for Educational Technology;
10   o Florida Department of Children and Families;
11   o Georgia Division of Family and Children Services;
12   o Georgia Department of Human Services;
13   o Georgia Board of Regents;
14   o Georgia Department of Public Health;
15   o Hawaii Department of Health;
16   o Hawaii Department of Human Services;
17   o Illinois Board of Higher Education;
18   o Illinois Department of Children and Family Services;
19   o Indiana Department of Child Services;
20   o Indiana Family and Social Services Administration;
21   o Indiana State Board of Education;
22   o Kansas Board of Regents;
23   o Louisiana Department of Children and Family Services;
24   o Maryland Department of Health;
25   o Maryland Higher Education Commission;
26   o Maryland State Department of Education;
27   o Michigan Department of Lifelong Education, Advancement, and Potential;
28                                                   6
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       Case 4:23-cv-05448-YGR          Document 119        Filed 09/04/24      Page 7 of 12



 1   o Minnesota Department of Health;
 2   o Montana Office of the Commissioner of Higher Education;
 3   o Nebraska Children’s Commission;
 4   o New Jersey Department of Children & Families;
 5   o New Jersey Department of Human Services;
 6   o New Jersey Office of the Secretary of Higher Education;
 7   o New York Department of Health;
 8   o New York Office of Children and Family Services;
 9   o New York Council on Children and Families;
10   o North Dakota Education Standards and Practices Board;
11   o Ohio Department of Children and Youth;
12   o Ohio Department of Youth Services;
13   o Oregon Health Authority;
14   o Oregon Higher Education Coordinating Commission;
15   o Rhode Island Board of Governors for Higher Education;
16   o Rhode Island Department of Children, Youth, and Families;
17   o Rhode Island Department of Health;
18   o Rhode Island Executive Office of Health and Human Services;
19   o Rhode Island Office of the Child Advocate;
20   o Arizona Board of Regents;
21   o Arizona State Board of Education;
22   o California Department of Health Care Services;
23   o California Department of Public Health;
24   o California Health and Human Services Agency;
25   o Idaho Education Board;
26   o South Carolina Commission on Higher Education;
27   o South Carolina Department of Children’s Advocacy;
28                                                   7
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                               4:23-cv-05448-YGR; 4:23-cv-05885-YGR; 4:24-cv-00805-YGR
           Case 4:23-cv-05448-YGR          Document 119          Filed 09/04/24    Page 8 of 12



 1      o South Carolina Department of Health and Human Services;
 2      o South Carolina Department of Social Services;
 3      o South Carolina Education Oversight Committee;
 4      o South Dakota Board of Regents;
 5      o South Dakota Department of Health;
 6      o Washington State Board of Health;
 7      o Washington State Department of Health;
 8      o Wisconsin Department of Children and Families;
 9      o Wisconsin Department of Health Services; and
10      o Wisconsin Department of Public Instruction.
11

12          The State AGs seek to provide the supplemental information attached as Exhibits A and B to ensure
13   a complete and accurate record.
14          The State AGs have consulted with counsel for Meta, which takes no position on the State AGs’
15   filing of this Motion.
16
      DATED: September 4, 2024                               Respectfully submitted,
17

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27                                                           Ralph L. Carr Judicial Center
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          STATE ATTORNEYS GENERAL’S THIRD ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
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     Case 4:23-cv-05448-YGR           Document 119          Filed 09/04/24      Page 9 of 12



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                                                        Philip Heleringer (KY Bar No. 96748),
27                                                      Pro hac vice

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     STATE ATTORNEYS GENERAL’S THIRD ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
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     Case 4:23-cv-05448-YGR          Document 119        Filed 09/04/24      Page 10 of 12



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     STATE ATTORNEYS GENERAL’S THIRD ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
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     Case 4:23-cv-05448-YGR          Document 119        Filed 09/04/24      Page 11 of 12



 1
                                                      Attorneys for Plaintiff New Jersey Division of
 2                                                    Consumer Affairs
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     STATE ATTORNEYS GENERAL’S THIRD ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
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          Case 4:23-cv-05448-YGR          Document 119        Filed 09/04/24      Page 12 of 12



 1                                              ATTESTATION
 2
            I, Megan O’Neill, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence to
 3
     the filing of this document has been obtained from each signatory hereto.
 4

 5    DATED: September 4, 2024
 6

 7                                                         /s/ Megan O’Neill
                                                           MEGAN O’NEILL
 8                                                         Deputy Attorney General
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          STATE ATTORNEYS GENERAL’S THIRD ADMINISTRATIVE MOTION FOR LEAVE TO FILE SUPPLEMENTAL INFORMATION
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